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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 IN RE: TREASURY SECURITIES
 AUCTION ANTITRUST LITIGATION
                                                                 15-md-2673-PGG

                                                              NOTICE OF APPEAL




       NOTICE IS HEREBY GIVEN that Plaintiffs Alaska Electrical Pension Fund, Bank of

Jerusalem Ltd., Boston Retirement System, City of Atlanta Firefighters’ Pension Plan, City of

Pontiac Police & Fire Retirement System, Cleveland Bakers and Teamsters Health and Welfare

Fund, Cleveland Bakers and Teamsters Pension Fund, Employees’ Retirement System of Rhode

Island, Erie County Employees’ Retirement System, The Government Employees’ Retirement

System of the Virgin Islands, IBEW Local 640/ Arizona Chapter NECA Pension Trust Fund,

MASTERINVEST Kapitalanlage GmbH, Oklahoma Police Pension and Retirement System,

Rock Capital Markets, LLC, Torus Capital, LLC, UFCW Local 1500 Pension Fund, UNIQA

Capital Markets GmbH, and United Food and Commercial Workers Union and Participating

Food Industry Employers TriState Pension Fund, on behalf of themselves and all others similarly

situated, appeal to the United States Court of Appeals for the Second Circuit from the Judgment

entered on March 31, 2022 (ECF No. 430) and each and every part thereof.
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DATED: New York, New York
       April 28, 2022

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                         Additional Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 28, 2022, a true and correct copy of the foregoing Notice of

Appeal was filed electronically through the Court’s ECF system. In accordance with Local Civil

Rule 5.2 of the United States District Court for the Southern Districts of New York and Local

Rule 3.1 of the United States Court of Appeals for the Second Circuit, the Notice of Appeal has

thereby been served electronically on counsel for all parties in these actions.



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